
Green, J.
delivered the opinion of the court.
The latter clause of the 3d section of the act of 1801, ch. 25, declaring valid all loans bona fide made, &amp;c. &amp;c. must he taken as applying only as between the persons receiving and making a loan of property. Any other construction would make this provision inconsistent with' the plain meaning of the latter clause of the second section of the same act. The negroes in question were in the possession of Daniel Brown more than five years before the boy Robert was levied on. The loan was not declared by will, or by deed in writing proved and recorded. As to this creditor, the property was with the possession.— Independently of this question, the jury were justified from the evidence, to find the verdict they rendered in this cause.
Judgment affirmed.
